     Case 3:18-cv-00428-DMS-MDD Document 286 Filed 10/16/18 PageID.4491 Page 1 of 2


 1
 2
 3
 4
 5
 6
 7
 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
10
11     Ms. L.; et al.,                                     Case No.: 18cv0428 DMS (MDD)
12                           Petitioners-Plaintiffs,
                                                           ORDER SETTING FURTHER
13     v.                                                  STATUS CONFERENCE
14     U.S Immigration and Customs
       Enforcement (“ICE”); et al.,
15
                         Respondents-Defendants.
16
17
18           A status conference was held on October 16, 2018. After consulting with counsel
19     and being advised of the status of the case, IT IS HEREBY ORDERED:
20     1.    Counsel in both this case and the New York cases shall file further status reports on
21     or before October 25, 2018, and on or before 3:00 p.m. on November 8, 2018.
22     3.    A further status conference shall be held on November 9, 2018, at 1:00 p.m. The
23     dial-in number for any counsel who wish to listen in only and members of the news media
24     is as follows.
25           1.     Dial the toll free number: 877-411-9748;
26           2.     Enter the Access Code: 6246317 (Participants will be put on hold until the
27                  Court activates the conference call);
28           3.     Enter the Participant Security Code 11090428 and Press # (The security code

                                                       1
                                                                                18cv0428 DMS (MDD)
     Case 3:18-cv-00428-DMS-MDD Document 286 Filed 10/16/18 PageID.4492 Page 2 of 2


 1                    will be confirmed);
 2           4.       Once the Security Code is confirmed, participants will be prompted to Press
 3                    1 to join the conference or Press 2 to re-enter the Security Code.
 4     Members of the general public may attend in person. All persons dialing in to the
 5     conference are reminded that Civil Local Rule 83.7(c) prohibits any recording of court
 6     proceedings.
 7     4.    Counsel for the Ms. L. Class shall provide notice of this order to counsel for
 8     Plaintiffs in the related cases, 18cv1699, 18cv1769 and 18cv1832.
 9      Dated: October 16, 2018
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                      2
                                                                                   18cv0428 DMS (MDD)
